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                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MARYLAND

IN RE:
JESSIE YOUNG
KAREN JACKSON                                      *                Case No:
                                                                  18-16484 TC
                                                   *
                     Debtors
                                                                 Chapter 13
*    *    *      *      *     *     *      *      *        *       *    *      *
JESSIE YOUNG                                      *
KAREN JACKSON
                     Movants                      *
vs
                                                  *
AMERICREDIT FINANCIAL SERVICES, INC.
DBA GM FINANCIAL
                                                  *

                     Respondents                  *

*    *   *   *   *   *   *   *   *   *   *   *   *   *   *   *   *
     ORDER GRANTING MOTION TO DETERMINE SECURED STATUS OF CLAIM
     AND MODIFY RATE OF INTEREST AND ADEQUATE PROTECTION PAYMENT

      Having considered debtor’s motion, and any response filed

thereto, and it appearing that proper notice has been given,

pursuant to 11 U.S.C. § 506, it is by the United States Bankruptcy

Court for the District of Maryland,
      ORDERED,   that       the   value     of    the      collateral         securing

Respondent’s claim is $17,675.00 at 6.0% interest, and it is

further
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     ORDERED, that the Adequate Protection Payment will be paid in

the amount of $150.00 per month as proposed in the Chapter 13

Plan, and it is further
     ORDERED, that at such time as a discharge Order is entered in

this case pursuant to 11 U.S.C. § 1328, the lien held in favor of

Respondent on the property described below is void to the extent

of Respondent’s unsecured claim:

          2015 Chrysler 200- VIN#1C3CCCAB0FN731047

and it is further


     ORDERED, that if the Respondent has filed a proof of claim,

the claim of the Respondent be and hereby is allowed for purposes

of distributions under the Debtor’s plan as a secured claim in an

amount not to exceed the value of the Respondent’s collateral and

as a general unsecured claim for the balance; and it is further

     ORDERED, that if the Respondent has not filed a proof of

claim, the claim of the Respondent be and hereby is allowed for

purposes of distributions under the Debtor’s plan as a secured

claim in an amount not to exceed the value of the Respondent’s

collateral and as a general unsecured claim for the balance if a

proof of claim is filed on or before the later of (i) the claims

bar date previously fixed by this court, or (ii) twenty-eight

(28) days after entry of this order; and it is further

     ORDERED, that allowance of the claim of the Respondent

pursuant to this order is without prejudice to objection to such

claim on other grounds.
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cc:
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Towson, MD 21286
Attorney for debtor

Timothy P. Branigan, Trustee
9891 Broken Land Parkway, #301
Columbia, Maryland 21046
Chapter 13 Trustee

Americredit Financial Services, Inc.
Dba GM Financial
PO Box 183853
Arlington, TX 76096
Respondent

Americredit Financial Services, Inc.
Dba GM Financial
Attn: Mandy Youngblood
PO Box 183853
Arlington, TX 76096
Proof of Claim filer for respondent

Americredit Financial Services, Inc.
c/o CSC-Lawyers Incorporating Service Company
7 St. Paul Street, Ste. 820
Baltimore, MD 21202
Resident Agent

Americredit Financial Services, Inc.
Dept 210 Tax
200 Bailey Avenue
Fort Worth, TX 76107
Principal Office for respondent

GM Financial
c/o Americredit Financial Services, Inc.
801 Cherry Street, Ste. 3600
Fort Worth, TX 76102-6803
Owner

GM Financial
801 Cherry Street, Ste. 3600
Fort Worth, TX 76102-6803
Respondent

Americredit Financial Services, Inc.
Attn: Chris Choate, CFO
801 Cherry Street, Ste. 3600
Fort Worth, TX 76102-6803
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CFO for respondent



                             END OF ORDER
